                                         Case 8:19-bk-11819-MGW                                          Doc 13               Filed 01/10/20                        Page 1 of 68

 Fill in this information to identify your case and this filing:

  Debtor 1                          Winford                                                 Fowler
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                            Middle District of Florida
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                8:19-bk-11819                                                                                                                             amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     4726 W Tambay Ave                                               What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Tampa, FL 33611                                               ❑ Land                                                                                  $280,000.00                    $140,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Hillsborough
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Tenancy by the Entirety
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ✔ At least one of the debtors and another
                                                                             ❑
                                                                                                                                                              (see instructions)




    If you own or have more than one, list here:

      1.2     4021 S. Renellie Dr                                             What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Tampa, FL 33611                                               ❑ Land                                                                                  $173,342.00                     $86,671.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Hillsborough
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Tenancy by the Entirties
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ✔ At least one of the debtors and another
                                                                             ❑
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $226,671.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
                                  Case 8:19-bk-11819-MGW                           Doc 13         Filed 01/10/20          Page 2 of 68

 Debtor 1               Winford                                          Fowler                                        Case number (if known) 8:19-bk-11819
                        First Name               Middle Name              Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                          Ford                 Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the
                                          Expedition           ❑ Debtor 1 only                                     amount of any secured claims on Schedule D:
            Model:
                                                               ❑ Debtor 2 only                                     Creditors Who Have Claims Secured by Property.
                                          2012                 ❑ Debtor 1 and Debtor 2 only
            Year:
                                                               ✔ At least one of the debtors and another
                                                               ❑
                                                                                                                  Current value of the
                                                                                                                  entire property?
                                                                                                                                              Current value of the
                                                                                                                                              portion you own?
                                          45000
            Approximate mileage:                                                                                               $14,000.00                  $7,000.00
            Other information:                                 ❑Check if this is community property (see
                                                                  instructions)




      If you own or have more than one, list here:

       3.2 Make:                          Jeep                 Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the
                                          Wrangler
                                                               ✔ Debtor 1 only
                                                               ❑                                                   amount of any secured claims on Schedule D:
            Model:
                                                               ❑ Debtor 2 only                                     Creditors Who Have Claims Secured by Property.
                                          2008                 ❑ Debtor 1 and Debtor 2 only                       Current value of the        Current value of the
                                                               ❑ At least one of the debtors and another
            Year:
                                          117000                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                $5,000.00                  $5,000.00
            Other information:                                 ❑Check if this is community property (see
                                                                  instructions)




       3.3 Make:                          Ford                 Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the
                                          F250
                                                               ✔ Debtor 1 only
                                                               ❑                                                   amount of any secured claims on Schedule D:
            Model:
                                                               ❑ Debtor 2 only                                     Creditors Who Have Claims Secured by Property.
                                          2012                 ❑ Debtor 1 and Debtor 2 only                       Current value of the        Current value of the
                                                               ❑ At least one of the debtors and another
            Year:
                                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                $8,000.00                  $8,000.00
            Other information:                                 ❑Check if this is community property (see
                                                                  instructions)
            This vehicle is used in Debtor's business
            and carries commercial insurance
            coverage




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         ✔ No
         ❑
         ❑ Yes



Official Form 106A/B                                                               Schedule A/B: Property                                                 page 2
                                         Case 8:19-bk-11819-MGW                                          Doc 13                Filed 01/10/20                      Page 3 of 68

 Debtor 1                   Winford                                                        Fowler                                                             Case number (if known) 8:19-bk-11819
                            First Name                    Middle Name                       Last Name



 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................               ➜            $20,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                  Current value of the
                                                                                                                                                                                     portion you own?
                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                     claims or exemptions.

 6.    Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                               Coffee table, end table, dining table, refrigerator, freezer, stove, microwave, dish washer washing
                                               machine, dryer, dishes, pots/pans/cookware, 4 beds, dresser/nightstand, lamps, family pictures                                                        $3,040.00




 7. Electronics
       Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                       electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                               3 TVs, Computer, cell phones, dvds, camera                                                                                                             $685.00



 8.    Collectibles of value
       Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:       Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                       carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:        Pistols, rifles, shotguns, ammunition, and related equipment

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                Colt 45 and 357 Snugnose                                                                                                                              $300.00



 11.    Clothes
        Examples:        Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                Clothes                                                                                                                                               $200.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                  page 3
                                            Case 8:19-bk-11819-MGW                                                  Doc 13                  Filed 01/10/20                           Page 4 of 68

 Debtor 1                     Winford                                                               Fowler                                                                      Case number (if known) 8:19-bk-11819
                             First Name                        Middle Name                           Last Name



 12.   Jewelry
       Examples:          Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                   Wedding Band
                                                                                                                                                                                                                       $100.00



 13.   Non-farm animals
       Examples:          Dogs, cats, birds, horses
       ✔ No
       ❑
       ❑ Yes. Describe........

 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                 $4,325.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                          Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                                       claims or exemptions.


 16.   Cash
       Examples:          Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes........................................................................................................................................................ Cash..............
       ❑                                                                                                                                                                                                               $100.00


 17.   Deposits of money
       Examples:          Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                          similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                              Institution name:



       17.1. Checking account:                                 First Citrus Bank                                                                                                           $65.64


       17.2. Checking account:                                 Bank of America                                                                                                            $161.17


       17.3. Savings account:


       17.4. Savings account:




Official Form 106A/B                                                                                                Schedule A/B: Property                                                                         page 4
                                      Case 8:19-bk-11819-MGW                       Doc 13          Filed 01/10/20             Page 5 of 68

 Debtor 1                  Winford                                      Fowler                                             Case number (if known) 8:19-bk-11819
                          First Name             Middle Name             Last Name



       17.5. Certificates of deposit:


       17.6. Other financial account:


       17.7. Other financial account:


       17.8. Other financial account:


       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them...................

       Name of entity:                                                                    % of ownership:


       Grow-Green Services Inc.                                                           100               %                      unknown


       Grow-Max, Inc.                                                                     100               %                      unknown


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Issuer name:




 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
       Type of account:                Institution name:

       401(k) or similar plan:



Official Form 106A/B                                                               Schedule A/B: Property                                                     page 5
                                       Case 8:19-bk-11819-MGW                    Doc 13          Filed 01/10/20          Page 6 of 68

 Debtor 1                 Winford                                     Fowler                                          Case number (if known) 8:19-bk-11819
                          First Name                Middle Name        Last Name



       Pension plan:


       IRA:


       Retirement account:


       Keogh:


       Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
                                    Institution name or individual:

       Electric:


       Gas:


       Heating oil:


       Security deposit on rental unit:


       Prepaid rent:


       Telephone:


       Water:


       Rented furniture:


       Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
       Issuer name and description:




Official Form 106A/B                                                             Schedule A/B: Property                                                  page 6
                                    Case 8:19-bk-11819-MGW                        Doc 13          Filed 01/10/20           Page 7 of 68

 Debtor 1                 Winford                                      Fowler                                           Case number (if known) 8:19-bk-11819
                          First Name              Middle Name           Last Name



 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                   Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.      Give specific information about                                                                        Federal:
                   them, including whether you
                   already filed the returns and the                                                                      State:
                   tax years.......................
                                                                                                                          Local:



 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.      Give specific information..........
                                                                                                                          Alimony:

                                                                                                                          Maintenance:

                                                                                                                          Support:

                                                                                                                          Divorce settlement:

                                                                                                                          Property settlement:



Official Form 106A/B                                                              Schedule A/B: Property                                                    page 7
                                         Case 8:19-bk-11819-MGW                                            Doc 13                Filed 01/10/20                        Page 8 of 68

 Debtor 1                   Winford                                                          Fowler                                                               Case number (if known) 8:19-bk-11819
                           First Name                      Middle Name                       Last Name



 30.   Other amounts someone owes you
       Examples:         Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                         Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑            Name the insurance company
                                                                           Company name:                                                             Beneficiary:                       Surrender or refund value:
                    of each policy and list its value....
                                                                           AIG                                                                       Wife                                                  $4,000.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                             $4,326.81



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.

Official Form 106A/B                                                                                       Schedule A/B: Property                                                                      page 8
                                         Case 8:19-bk-11819-MGW                                            Doc 13                Filed 01/10/20                        Page 9 of 68

 Debtor 1                   Winford                                                         Fowler                                                                Case number (if known) 8:19-bk-11819
                           First Name                      Middle Name                       Last Name



                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
       Name of entity:                                                                                               % of ownership:

                                                                                                                                            %


 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                               $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.


Official Form 106A/B                                                                                       Schedule A/B: Property                                                                    page 9
                                         Case 8:19-bk-11819-MGW                                           Doc 13                Filed 01/10/20                       Page 10 of 68

 Debtor 1                   Winford                                                          Fowler                                                               Case number (if known) 8:19-bk-11819
                           First Name                      Middle Name                       Last Name



 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                             $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:         Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                              $0.00




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                   page 10
                                         Case 8:19-bk-11819-MGW                                                Doc 13                Filed 01/10/20                          Page 11 of 68

 Debtor 1                    Winford                                                             Fowler                                                                  Case number (if known) 8:19-bk-11819
                            First Name                       Middle Name                          Last Name




 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                       $226,671.00


 56.   Part 2: Total vehicles, line 5                                                                                        $20,000.00


 57.   Part 3: Total personal and household items, line 15                                                                     $4,325.00


 58.   Part 4: Total financial assets, line 36                                                                                 $4,326.81


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $28,651.81             Copy personal property total➜         +             $28,651.81




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                      $255,322.81




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                     page 11
                                 Case 8:19-bk-11819-MGW                         Doc 13           Filed 01/10/20             Page 12 of 68

 Fill in this information to identify your case:

  Debtor 1                    Winford                                  Fowler
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Middle District of Florida

  Case number                        8:19-bk-11819                                                                                     ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                         ❑                                        11 U.S.C. § 522(b)(3)(B)
                                                                                         ✔
 4726 W Tambay Ave Tampa, FL 33611                                       $140,000.00
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1

 Brief description:
                                                                                         ❑                                        11 U.S.C. § 522(b)(3)(B)
                                                                                         ✔
 4021 S. Renellie Dr Tampa, FL 33611                                       $86,671.00
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.2


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 3
                               Case 8:19-bk-11819-MGW                         Doc 13        Filed 01/10/20              Page 13 of 68

 Debtor 1             Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                      First Name             Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on             Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from        Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                      ❑                                          11 U.S.C. § 522(b)(3)(B)
                                                                                      ✔
 2012 Ford Expedition                                                   $7,000.00
                                                                                      ❑   100% of fair market value, up to
 Line from                                                                                any applicable statutory limit
 Schedule A/B:        3.1


                                                                                      ✔
 Brief description:
 2012 Ford F250                                                         $8,000.00
                                                                                      ❑                $1,000.00                 Fla. Stat. Ann. § 222.25(1)

  This vehicle is used in Debtor's business and carries                               ❑   100% of fair market value, up to
  commercial insurance coverage                                                           any applicable statutory limit

 Line from
 Schedule A/B:        3.3

 Brief description:
                                                                                      ❑                                          11 U.S.C. § 522(b)(3)(B)
                                                                                      ✔
 Coffee table, end table, dining table, refrigerator,                   $3,040.00
 freezer, stove, microwave, dish washer washing                                       ❑   100% of fair market value, up to
 machine, dryer, dishes, pots/pans/cookware, 4 beds,                                      any applicable statutory limit
 dresser/nightstand, lamps, family pictures

 Line from
 Schedule A/B:          6

 Brief description:
                                                                                      ❑                                          11 U.S.C. § 522(b)(3)(B)
                                                                                      ✔
 3 TVs, Computer, cell phones, dvds, camera                                 $685.00
                                                                                      ❑   100% of fair market value, up to
 Line from                                                                                any applicable statutory limit
 Schedule A/B:          7


                                                                                      ✔
 Brief description:
 Colt 45 and 357 Snugnose                                                   $300.00
                                                                                      ❑                 $300.00                  Fla. Const. art. X, § 4(a)(2)
                                                                                      ❑   100% of fair market value, up to
 Line from                                                                                any applicable statutory limit
 Schedule A/B:         10


                                                                                      ✔
 Brief description:
 Clothes                                                                    $200.00
                                                                                      ❑                 $200.00                  Fla. Const. art. X, § 4(a)(2)
                                                                                      ❑   100% of fair market value, up to
 Line from                                                                                any applicable statutory limit
 Schedule A/B:         11


                                                                                      ✔
 Brief description:
 Wedding Band                                                               $100.00
                                                                                      ❑                 $100.00                  Fla. Const. art. X, § 4(a)(2)
                                                                                      ❑   100% of fair market value, up to
 Line from                                                                                any applicable statutory limit
 Schedule A/B:         12


                                                                                      ✔
 Brief description:
 Cash                                                                       $100.00
                                                                                      ❑                 $100.00                  Fla. Const. art. X, § 4(a)(2)
                                                                                      ❑   100% of fair market value, up to
 Line from                                                                                any applicable statutory limit
 Schedule A/B:         16




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                        page 2 of 3
                              Case 8:19-bk-11819-MGW                       Doc 13        Filed 01/10/20              Page 14 of 68

 Debtor 1             Winford                                   Fowler                                            Case number (if known) 8:19-bk-11819
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 First Citrus Bank                                                        $65.64
                                                                                   ❑                 $65.64                   Fla. Const. art. X, § 4(a)(2)

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                   ✔
 Brief description:
 Bank of America                                                         $161.17
                                                                                   ❑                 $161.17                  Fla. Const. art. X, § 4(a)(2)

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                                   ❑                                          Fla. Stat. Ann. § 222.14
                                                                                   ✔
 AIG                                                                 $4,000.00
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        31




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        page 3 of 3
                                    Case 8:19-bk-11819-MGW                               Doc 13            Filed 01/10/20              Page 15 of 68

 Fill in this information to identify your case:

  Debtor 1                       Winford                                       Fowler
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                                Middle District of Florida

  Case number                             8:19-bk-11819                                                                                                 ❑    Check if this is an
  (if known)                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                Do not deduct the      that supports         portion
                                                                                                                            value of collateral.   this claim            If any
 2.1 Chase Mortgage                                          Describe the property that secures the claim:                         $184,663.00           $140,000.00               $44,663.00
        Creditor's Name
                                                              4726 W Tambay Ave Tampa, FL 33611
         Attn: Correspondence Center
         Mail Code LA4 5555 700 Kansas Ln
        Number          Street
                                                             As of the date you file, the claim is: Check all that apply.

         Monroe, LA 71203                                    ❑Contingent
        City                      State       ZIP Code       ❑Unliquidated
        Who owes the debt? Check one.                        ❑Disputed
        ✔ Debtor 1 only
        ❑                                                    Nature of lien. Check all that apply.
        ❑Debtor 2 only                                       ✔An agreement you made (such as mortgage or
                                                             ❑
        ❑Debtor 1 and Debtor 2 only                             secured car loan)
        ❑At least one of the debtors and another             ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑Check if this claim relates to a                    ❑Judgment lien from a lawsuit
           community debt
                                                             ❑Other (including a right to offset)
        Date debt was incurred
        1/1/2016                                             Last 4 digits of account number 9            0   3    9

         Add the dollar value of your entries in Column A on this page. Write that number here:                                           $184,663.00




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 3
                                Case 8:19-bk-11819-MGW                          Doc 13            Filed 01/10/20              Page 16 of 68

 Debtor 1              Winford                                       Fowler                                                Case number (if known) 8:19-bk-11819
                       First Name          Middle Name               Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.2 Harvey Schonbrun, as Trustee                   Describe the property that secures the claim:                          $73,956.00            $86,671.00                   $0.00
     Creditor's Name
                                                     4021 S. Renellie Dr Tampa, FL 33611
      1802 North Morgan Street
     Number          Street
      Tampa, FL 33602                               As of the date you file, the claim is: Check all that apply.
     City                     State   ZIP Code      ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ✔ Debtor 1 only
     ❑                                              ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ✔An agreement you made (such as mortgage or
                                                    ❑
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
                                                    Last 4 digits of account number




 2.3 Suntrust                                       Describe the property that secures the claim:                           $4,036.00              $8,000.00                  $0.00
     Creditor's Name
                                                     2012 Ford F250
      Attn: Bankruptcy                               This vehicle is used in Debtor's business and
      Mail Code VA-RVW-6290 PO Box 85092             carries commercial insurance coverage
     Number          Street                         As of the date you file, the claim is: Check all that apply.
      Richmond, VA 23286
     City                     State   ZIP Code
                                                    ❑Contingent
     Who owes the debt? Check one.
                                                    ❑Unliquidated
     ❑Debtor 1 only                                 ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.

     ❑Debtor 1 and Debtor 2 only                    ✔An agreement you made (such as mortgage or
                                                    ❑
     ✔At least one of the debtors and another
     ❑
                                                       secured car loan)
                                                    ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a
        community debt                              ❑Judgment lien from a lawsuit
     Date debt was incurred
                                                    ❑Other (including a right to offset)
     9/1/2017
                                                    Last 4 digits of account number 0            4   9    0




      Add the dollar value of your entries in Column A on this page. Write that number here:                                      $77,992.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                       $262,655.00
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
                               Case 8:19-bk-11819-MGW                        Doc 13          Filed 01/10/20             Page 17 of 68

 Debtor 1             Winford                                       Fowler                                           Case number (if known) 8:19-bk-11819
                      First Name            Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     3
        Lightstream/Suntrust
        Name
                                                                                             Last 4 digits of account number
        655 W Broadway
        Number        Street
        Attn: Bankruptcy

        San Diego, CA 92101
        City                                                State         ZIP Code




Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 3
                                   Case 8:19-bk-11819-MGW                       Doc 13         Filed 01/10/20               Page 18 of 68

 Fill in this information to identify your case:

  Debtor 1                    Winford                                  Fowler
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                         Middle District of Florida

  Case number                        8:19-bk-11819                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State     ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 20
                                  Case 8:19-bk-11819-MGW                          Doc 13          Filed 01/10/20              Page 19 of 68

 Debtor 1               Winford                                         Fowler                                             Case number (if known) 8:19-bk-11819
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     American Express Travel Related Services                                  Last 4 digits of account number 6783                                                     $0.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          01/01/2017
        Attn: Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 981537                                                             ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        El Paso, TX 79998
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔
        ❑ Debtor 1 only                                                           ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑
                                                                                      divorce that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               Unsecured
        ✔ No
        ❑
        ❑ Yes
4.2     Amex                                                                      Last 4 digits of account number 6023                                               $19,889.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          05/01/2017
        Correspondence/Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 981540                                                             ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        El Paso, TX 79998-1540
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 1 only                                                           ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only
                                                                                      divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ✔ At least one of the debtors and another
        ❑                                                                             similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               CreditCard
        ✔ No
        ❑
        ❑ Yes
4.3     Amex                                                                      Last 4 digits of account number 9363                                               $27,180.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          12/01/2013
        Correspondence/Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 981540                                                             ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        El Paso, TX 79998-1540
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 1 only                                                           ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only
                                                                                      divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ✔ At least one of the debtors and another
        ❑                                                                             similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               CreditCard
        ✔ No
        ❑
        ❑ Yes
Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 2 of 20
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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.4     Amex                                                                 Last 4 digits of account number 4153                                         $12,985.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/1996
        Correspondence/Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 981540
       Number           Street
                                                                             ❑   Contingent

        El Paso, TX 79998-1540
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           CreditCard
       ✔
       ❑      No
       ❑      Yes
4.5     BB&T                                                                 Last 4 digits of account number 1001                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/2014
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 1847
       Number           Street
                                                                             ❑   Contingent

        Wilson, NC 27894
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Automobile
       ✔
       ❑      No
       ❑      Yes
4.6     BB&T                                                                 Last 4 digits of account number 6507                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/01/2005
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 1847
       Number           Street
                                                                             ❑   Contingent

        Wilson, NC 27894-1847
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           HouseholdGoodsAndOtherCollateralAuto
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 3 of 20
                                 Case 8:19-bk-11819-MGW                      Doc 13          Filed 01/10/20              Page 21 of 68


 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.7     Can Capital Asset Servicing, Inc.                                    Last 4 digits of account number 8798                                         $55,000.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o Corporation Service Company
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑
        40 Technology Parkway S, Suite 300
       Number           Street                                                   Contingent

        Norcross, GA 30092                                                   ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ✔
       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.8     Capital Bank                                                         Last 4 digits of account number 6407                                               $938.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/01/2016
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        1 Church St. # 300
       Number           Street
                                                                             ❑   Contingent

        Rockville, MD 20850
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           CreditCard
       ✔
       ❑      No
       ❑      Yes
4.9     Cenlar                                                               Last 4 digits of account number 8299                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/29/2016
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 77404
       Number           Street
                                                                             ❑   Contingent

        Ewing, NJ 08628
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ConventionalRealEstateMortgage
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.10    Chase Card Services                                                  Last 4 digits of account number 9892                                            $6,167.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/01/2017
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 15298
       Number           Street
                                                                             ❑   Contingent

        Wilmington, DE 19850
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           CreditCard
       ✔
       ❑      No
       ❑      Yes
4.11    Citibank/The Home Depot                                              Last 4 digits of account number 4849                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          04/01/2012
        Attn: Recovery/Centralized Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 790034
       Number           Street
                                                                             ❑   Contingent

        St Louis, MO 63179
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes
4.12    Comenity Bank/Kay Jewelers                                           Last 4 digits of account number 5407                                                $51.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/2010
        Attn: Bankruptcy Dept
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 182125
       Number           Street
                                                                             ❑   Contingent

        Columbus, OH 43218
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.13    Comenity Capital Bank                                                Last 4 digits of account number 4985                                            unknown
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        12921 South Vista Station Boulevard
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Draper, UT 84020                                                     ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                    ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑
       ✔
                                                                                 Other. Specify
       ❑      No
       ❑      Yes
4.14    Credit First National Association                                    Last 4 digits of account number 7336                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          05/01/2014
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 81315
       Number           Street
                                                                             ❑   Contingent

        Cleveland, OH 44181-0315
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes
4.15    Credit One Bank                                                      Last 4 digits of account number 0624                                               $179.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2019
        ATTN: Bankruptcy Department
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 98873
       Number           Street
                                                                             ❑   Contingent

        Las Vegas, NV 89193
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           CreditCard
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.16    Dell Financial Services LLC                                          Last 4 digits of account number 7177                                               $758.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2008
        Attn: President/CEO
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 81577
       Number           Street
                                                                             ❑   Contingent

        Austin, TX 78708-1577
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes
4.17    Deptartment Store National Bank/Macy's                               Last 4 digits of account number 6946                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/2010
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        9111 Duke Boulevard
       Number           Street
                                                                             ❑   Contingent

        Mason, OH 45040
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes
4.18    Deptartment Store National Bank/Macy's                               Last 4 digits of account number 4061                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          05/01/1991
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        9111 Duke Boulevard
       Number           Street
                                                                             ❑   Contingent

        Mason, OH 45040
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.19    Discover Financial                                                   Last 4 digits of account number 5099                                         $19,854.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2017
        Attn: Bankruptcy Department
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 15316
       Number           Street
                                                                             ❑   Contingent

        Wilmington, DE 19850-5316
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           CreditCard
       ✔
       ❑      No
       ❑      Yes
4.20    Ditech                                                               Last 4 digits of account number 5926                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          05/17/2006
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 6172
       Number           Street
                                                                             ❑   Contingent

        Rapid City, SD 57709-6172
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ConventionalRealEstateMortgage
       ✔
       ❑      No
       ❑      Yes
4.21    Fay Servicing Llc                                                    Last 4 digits of account number 8340                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          05/01/2006
        Attn: Bankruptcy Dept
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 809441
       Number           Street
                                                                             ❑   Contingent

        Chicago, IL 60680
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ConventionalRealEstateMortgage
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.22    FC Marketplace, LLC                                                  Last 4 digits of account number 1857                                        $212,020.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o Corporation Service Company
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑
        1201 Hays Street
       Number           Street                                                   Contingent

        Tallahassee, FL 32301                                                ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ✔
       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.23    Ford Motor Credit                                                    Last 4 digits of account number 9037                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          04/01/2012
        National Bankruptcy Service Center
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 62180
       Number           Street
                                                                             ❑   Contingent

        Colorado Springs, CO 80962
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims

       ✔                                                                     ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Automobile
       ✔
       ❑      No
       ❑      Yes
4.24    Green Capital Funding, LLC                                                                                                                        $30,000.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        30 Broad Street, 14th Floor, Suite 1462
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        New York, NY 10004                                                   ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                    ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?
                                                                             ✔
                                                                             ❑
       ✔
       ❑      No
                                                                                 Other. Specify

       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.25    GTE Financial (dba) GTE Federal CU                                   Last 4 digits of account number 2221                                                $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          04/01/2005
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 172599
       Number           Street
                                                                             ❑   Contingent

        Tampa, FL 33672
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Automobile
       ✔
       ❑      No
       ❑      Yes
4.26    Inphynet Contracting Services, LLC                                                                                                                     $964.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o Corporation Service Company
                                                                             As of the date you file, the claim is: Check all that apply.
        1201 Hays Street
       Number           Street                                               ❑   Contingent
        Tallahassee, FL 32301                                                ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ❑      At least one of the debtors and another                        ❑   Debts to pension or profit-sharing plans, and other
       ❑
                                                                                 similar debts
              Check if this claim is for a community debt
                                                                             ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.27    Kabbage, Inc.                                                        Last 4 digits of account number 2842                                         $10,000.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o Corporation Service Company
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑
        40 Technology Parkway S, #300
       Number           Street                                                   Contingent

        Norcross, GA 30092                                                   ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ✔
       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.28    Knight Capital Funding                                               Last 4 digits of account number 5922                                         $40,000.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        9 East Loockerman St, Ste 3A-543
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Dover, DE 19901                                                      ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                    ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑
       ✔
                                                                                 Other. Specify
       ❑      No
       ❑      Yes
4.29    LendingClub                                                          Last 4 digits of account number 1643                                                $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/01/2017
        Attn: Bankruptcy Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        595 Market St , Ste 200
       Number           Street
                                                                             ❑   Contingent

        San Francisco, CA 94105
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Unsecured
       ✔
       ❑      No
       ❑      Yes
4.30    LVNV Funding LLC                                                     Last 4 digits of account number 5393                                              $800.14
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o Corporation Service Company
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑
        1201 Hays Street
       Number           Street                                                   Contingent

        Tallahassee, FL 32301                                                ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.31    Midland Credit Management                                            Last 4 digits of account number 9821                                            $4,729.11
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o Corporation Service Company
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑
        1201 Hays St.
       Number           Street                                                   Contingent

        Tallahassee, FL 32301                                                ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.32    Mr. Cooper                                                           Last 4 digits of account number 1550                                               $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/2014
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 619098
       Number           Street
                                                                             ❑   Contingent

        Dallas, TX 75261-9741
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           FHARealEstateMortgage
       ✔
       ❑      No
       ❑      Yes
4.33    North Shore                                                          Last 4 digits of account number 8754                                               $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/16/2011
        1 Village Plaza Suite 202
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Kings Park, NY 11754
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 InstallmentSalesContract
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.34    Nuvei Technologies Inc.                                              Last 4 digits of account number 2310                                              $455.56
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        5000 Legacy Drive, Suite 320
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Plano, TX 75024                                                      ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                    ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑
       ✔
                                                                                 Other. Specify
       ❑      No
       ❑      Yes
4.35    Par Funding                                                                                                                                              $0.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        2000 PGA Blvd, Ste 440
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Palm Beach Gardens, FL 33408                                         ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                    ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?
                                                                             ✔
                                                                             ❑
       ✔
       ❑      No
                                                                                 Other. Specify

       ❑      Yes
4.36    Rocket loans                                                         Last 4 digits of account number 6315                                            $7,719.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/08/2018
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        1274 Library St
       Number           Street
                                                                             ❑   Contingent

        Detroit, MI 48226
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Unsecured
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.37    Sterling Jewelers, Inc.                                              Last 4 digits of account number 3824                                               $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/2010
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 1799
       Number           Street
                                                                             ❑   Contingent

        Akron, OH 44309-1799
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes
4.38    Syncb/Care Credit                                                    Last 4 digits of account number 0491                                               $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/30/2007
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        Po Box 965064
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896-5064
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes
4.39    Syncb/Care Credit                                                    Last 4 digits of account number 3683                                            $2,403.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          09/01/2017
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        Po Box 965064
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896-5064
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           CreditCard
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.40    Syncb/frdmrc                                                         Last 4 digits of account number 0014                                               $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2005
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896-5060
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes
4.41    Syncb/PLCC                                                           Last 4 digits of account number 8085                                            $1,027.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/01/1995
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896-5060
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes
4.42    Synchrony Bank/Lowes                                                 Last 4 digits of account number 2902                                               $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/24/2014
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                      Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.43    Synchrony Bank/Select Comfort                                        Last 4 digits of account number 1035                                              $863.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/01/2017
        Attn: Bankruptcy Dept
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896-5060
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           ChargeAccount
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Winford                                     Fowler                                            Case number (if known) 8:19-bk-11819
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Modlin Slinsky, PA                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        1551 Sawgrass Corporate Parkway, Ste 110                      Line   4.3   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Fort Lauderdale, FL 33323
       City                                  State      ZIP Code      Last 4 digits of account number

        Firstsource Advantage, LLC                                    On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line   4.4   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                                  ✔
        c/o CT Corporation System
        1200 South Pine Island Road                                                               ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number
        Plantation, FL 33324
       City                                  State      ZIP Code


        Inphynet Contracting Srv, LLC                                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 459077                                                 Line 4.26 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Fort Lauderdale, FL 33345
       City                                  State      ZIP Code      Last 4 digits of account number

        Midland Credit Management                                     On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        350 Camino De La Reina, Suite 100                             Line 4.31 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        San Diego, CA 92108
       City                                  State      ZIP Code      Last 4 digits of account number

        Funding Circle USA, Inc.                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        747 Front Street, 4th Floor                                   Line 4.22 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        San Francisco, CA 94111
       City                                  State      ZIP Code      Last 4 digits of account number

        Funding Circle USA, Inc.                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 398383                                                 Line 4.22 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        San Francisco, CA 94139
       City                                  State      ZIP Code      Last 4 digits of account number

        Nathan A. Schwartz, PA                                        On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        5255 N. Federal Highway, Suite 305                            Line 4.22 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Boca Raton, FL 33487
       City                                  State      ZIP Code      Last 4 digits of account number




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                page 17 of 20
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 Debtor 1              Winford                                  Fowler                                          Case number (if known) 8:19-bk-11819
                       First Name          Middle Name          Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        Can Capital Asset Servicing, Inc.                        On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        2015 Vaughn Road NW, Suite 500                           Line    4.7   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                ✔
                                                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        Kennesaw, GA 30144
       City                                 State    ZIP Code    Last 4 digits of account number

        Mateer & Harbert, P.A.                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        225 E Robinson St Ste 600                                Line    4.7   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                ✔
                                                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        Orlando, FL 32801-4334
       City                                 State    ZIP Code    Last 4 digits of account number

        Knight Capital Funding, LLC                              On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                 Line 4.28 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                              ✔
        c/o NRAI Services, Inc
        1200 South Pine Island Road                                                           ❑   Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                 Last 4 digits of account number
        Plantation, FL 33324
       City                                 State    ZIP Code


        Marcadis Singer                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        5104 S West Shore Blvd                                   Line 4.28 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                ✔
                                                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        Tampa, FL 33611-5650
       City                                 State    ZIP Code    Last 4 digits of account number

        Kabbage Inc.                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        730 Peachtree Street, Suite 1100                         Line 4.27 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                ✔
                                                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        Atlanta, GA 30308
       City                                 State    ZIP Code    Last 4 digits of account number

        Green Capital Funding, LLC                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                 Line 4.24 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                              ✔
        c/o Business Filings Inc.
        187 Wolf Road, Suite 101                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                 Last 4 digits of account number
        Albany, NY 12205
       City                                 State    ZIP Code


        Biegel, Stephen W.                                       On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        109 W. 38th Street, Ste 200                              Line 4.24 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                ✔
                                                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        New York, NY 10018
       City                                 State    ZIP Code    Last 4 digits of account number




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 18 of 20
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 Debtor 1              Winford                                 Fowler                                          Case number (if known) 8:19-bk-11819
                       First Name        Middle Name           Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        MCA Recovery LLC                                        On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        17 State Street, Suite 4000                             Line 4.24 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                              ✔
                                                                                            ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        New York, NY 10004
       City                                 State   ZIP Code    Last 4 digits of account number

        Complete Business Solutions Group, Inc.                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        205 Arch Street, 2nd Floor                              Line 4.35 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                              ✔
                                                                                            ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Philadelphia, PA 19106
       City                                 State   ZIP Code    Last 4 digits of account number

        Par Funding                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        20900 NE 30th Ave, Ste 307                              Line 4.35 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                              ✔
                                                                                            ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Miami, FL 33180
       City                                 State   ZIP Code    Last 4 digits of account number

        United Collection Bureau, Inc.                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                Line 4.30 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                            ✔
        c/o Corporation Service Company
        1201 Hays Street                                                                    ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                Last 4 digits of account number
        Tallahassee, FL 32301
       City                                 State   ZIP Code


        Cedar Business Services                                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        5230 Las Virgenes Road, Suite 210                       Line 4.34 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                              ✔
                                                                                            ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Calabasas, CA 91302
       City                                 State   ZIP Code    Last 4 digits of account number




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                              page 19 of 20
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 Debtor 1              Winford                                     Fowler                                      Case number (if known) 8:19-bk-11819
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                    $453,981.81
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                          $453,981.81




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 20 of 20
                                   Case 8:19-bk-11819-MGW                        Doc 13          Filed 01/10/20             Page 38 of 68

 Fill in this information to identify your case:

     Debtor 1                   Winford                                 Fowler
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                        Middle District of Florida

     Case number                       8:19-bk-11819                                                                                         ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                                State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                                        Case 8:19-bk-11819-MGW                        Doc 13          Filed 01/10/20         Page 39 of 68

 Fill in this information to identify your case:

  Debtor 1                        Winford                                    Fowler
                                 First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Middle District of Florida

  Case number                            8:19-bk-11819                                                                                        ❑    Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ❑No
      ✔Yes
      ❑
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                          . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:
3.1
      Grow-Max, Inc.
                                                                                                                 ✔Schedule D, line
                                                                                                                 ❑                     2.3
      Name                                                                                                                           4.2, 4.3, 4.7,
      4726 W. Tambay Ave                                                                                                             4.22, 4.24, 4.27,
      Number          Street                                                                                     ✔Schedule E/F, line 4.28, 4.35
                                                                                                                 ❑
      Tampa, FL 33611
      City                                    State     ZIP Code                                                 ❑Schedule G, line




Official Form 106H                                                               Schedule H: Your Codebtors                                                              page 1 of 1
                                 Case 8:19-bk-11819-MGW                        Doc 13            Filed 01/10/20          Page 40 of 68

 Fill in this information to identify your case:

  Debtor 1                    Winford                                 Fowler
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Middle District of Florida                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                        8:19-bk-11819                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                   ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation                  Lawn Maintenance
     employers.
                                               Employer's name             Self Employed
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.
                                                                           Grow-Green Services, Inc and Grow-Max




                                                                            City                     State    Zip Code         City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $3,945.00                      $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +               $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $3,945.00                      $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1
                                        Case 8:19-bk-11819-MGW                                                Doc 13     Filed 01/10/20            Page 41 of 68

 Debtor 1                   Winford                                                            Fowler                                          Case number (if known) 8:19-bk-11819
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1        For Debtor 2 or
                                                                                                                                                        non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $3,945.00                    $0.00
 5.   List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $671.00                     $0.00
      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                     $0.00
      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                     $0.00
      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                     $0.00
      5e. Insurance                                                                                                    5e.                $0.00                     $0.00
      5f. Domestic support obligations                                                                                 5f.                $0.00                     $0.00
      5g. Union dues                                                                                                   5g.                $0.00                     $0.00

      5h. Other deductions. Specify:                                                                                   5h.   +             $0.00        +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.               $671.00                     $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $3,274.00                    $0.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.                                8a.             $3,135.00                    $0.00
      8b. Interest and dividends                                                                                       8b.                $0.00                     $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                     $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                     $0.00
      8e. Social Security                                                                                              8e.                $0.00                     $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                   8f.                $0.00                     $0.00
      8g. Pension or retirement income                                                                                 8g.                $0.00                     $0.00

      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00        +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $3,135.00                     $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $6,409.00    +                $0.00        =       $6,409.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                                12.          $6,409.00
                                                                                                                                                                                  Combined
                                                                                                                                                                                  monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                           page 2
                                  Case 8:19-bk-11819-MGW                              Doc 13        Filed 01/10/20         Page 42 of 68

 Fill in this information to identify your case:

  Debtor 1                    Winford                                        Fowler
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                              Middle District of Florida

  Case number                        8:19-bk-11819                                                                     MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                  Child                               16                        ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.                     $2,050.00


     If not included in line 4:
                                                                                                                                   4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                   4b.                        $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                      $100.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.                        $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
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 Debtor 1              Winford                                         Fowler                                Case number (if known) 8:19-bk-11819
                       First Name             Middle Name               Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                       $500.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $350.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $101.00

       6d. Other. Specify:                                                                                         6d.                         $0.00

 7.    Food and housekeeping supplies                                                                              7.                        $800.00

 8.    Childcare and children’s education costs                                                                    8.                          $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $150.00

 10. Personal care products and services                                                                           10.                         $0.00

 11.   Medical and dental expenses                                                                                 11.                       $400.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                        $50.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $100.00

 14. Charitable contributions and religious donations                                                              14.                         $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                      $218.00
       15a. Life insurance
                                                                                                                   15b.                        $0.00
       15b. Health insurance
       15c. Vehicle insurance                                                                                      15c.                      $230.00

       15d. Other insurance. Specify:                                                                              15d.                        $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                         $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                      $410.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.
       17b. Car payments for Vehicle 2
                                                                                                                   17c.
       17c. Other. Specify:
                                                                                                                   17d.
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                      $859.00
       20b. Real estate taxes                                                                                      20b.                        $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                        $0.00




Official Form 106J                                                              Schedule J: Your Expenses                                              page 2
                               Case 8:19-bk-11819-MGW                         Doc 13         Filed 01/10/20     Page 44 of 68

 Debtor 1              Winford                                      Fowler                                    Case number (if known) 8:19-bk-11819
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                                21.     +                   $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                  22a.                    $6,318.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                          22b.                        $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                               22c.                    $6,318.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                             23a.                    $6,409.00

      23b. Copy your monthly expenses from line 22c above.                                                          23b.    –               $6,318.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                    23c.                       $91.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                                page 3
                                        Case 8:19-bk-11819-MGW                                           Doc 13               Filed 01/10/20                       Page 45 of 68

 Fill in this information to identify your case:

  Debtor 1                          Winford                                                  Fowler
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                             Middle District of Florida

  Case number                                8:19-bk-11819                                                                                                                          ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $226,671.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $28,651.81


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $255,322.81



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $262,655.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +              $453,981.81


                                                                                                                                                                  Your total liabilities                    $716,636.81

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $6,409.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $6,318.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
                               Case 8:19-bk-11819-MGW                           Doc 13          Filed 01/10/20               Page 46 of 68

 Debtor 1              Winford                                        Fowler                                              Case number (if known) 8:19-bk-11819
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔
   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2 of 2
                                 Case 8:19-bk-11819-MGW                        Doc 13         Filed 01/10/20            Page 47 of 68

 Fill in this information to identify your case:

  Debtor 1                    Winford                                Fowler
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                        8:19-bk-11819                                                                                       ❑    Check if this is an
  (if known)                                                                                                                                  amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                  12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                                . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                         (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Winford Fowler
        Winford Fowler, Debtor 1                                        ✘
        Date 01/10/2020                                                       Date
                MM/ DD/ YYYY                                                         MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                 Case 8:19-bk-11819-MGW                        Doc 13           Filed 01/10/20          Page 48 of 68

 Fill in this information to identify your case:

  Debtor 1                    Winford                                 Fowler
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                        8:19-bk-11819                                                                                     ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures a Did you claim the property as
                                                                           debt?                                                     exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 Chase Mortgage
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of        4726 W Tambay Ave Tampa, FL 33611                ✔ Retain the property and enter into a
                                                                           ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:

    Creditor’s                                                             ❑ Surrender the property.                                      ✔ No
                                                                                                                                          ❑
    name:                 Suntrust
                                                                           ❑ Retain the property and redeem it.                           ❑ Yes
    Description of        2012 Ford F250                                   ✔ Retain the property and enter into a
                                                                           ❑
    property              This vehicle is used in Debtor's business                Reaffirmation Agreement.
    securing debt:        and carries commercial insurance coverage
                                                                           ❑ Retain the property and [explain]:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
                             Case 8:19-bk-11819-MGW                     Doc 13         Filed 01/10/20              Page 49 of 68

 Debtor 1            Winford                                   Fowler                                         Case number (if known) 8:19-bk-11819
                     First Name          Middle Name            Last Name




         Additional Page for Part 1

    Creditor’s                                                       ❑ Surrender the property.                                   ❑ No
    name:              Harvey Schonbrun, as Trustee
                                                                     ❑ Retain the property and redeem it.                        ✔ Yes
                                                                                                                                 ❑
    Description of     4021 S. Renellie Dr Tampa, FL 33611           ✔ Retain the property and enter into a
                                                                     ❑
    property                                                             Reaffirmation Agreement.
    securing debt:
                                                                     ❑ Retain the property and [explain]:




Official Form 108                                  Statement of Intention for Individuals Filing Under Chapter 7                                     page
                              Case 8:19-bk-11819-MGW                       Doc 13         Filed 01/10/20             Page 50 of 68

 Debtor 1             Winford                                     Fowler                                          Case number (if known) 8:19-bk-11819
                      First Name             Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                       /s/ Winford Fowler                        ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 01/10/2020                                                    Date
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
                            Case 8:19-bk-11819-MGW                              Doc 13           Filed 01/10/20               Page 51 of 68

B2030 (Form 2030)(12/15)


                                                     United States Bankruptcy Court
                                                                       Middle District of Florida

In re
Fowler, Winford                                                                                                          Case No. 8:19-bk-11819
Debtor(s)                                                                                                                Chapter        7


                                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                           $2,500.00
             Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                             $2,500.00
             Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                $0.00

2.   The source of the compensation to be paid to me was:
             ✔ Debtor
             ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
             ✔ Debtor
             ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
            bankruptcy;
     b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
          Representation of the debtor in adversary proceedings and other contested bankruptcy matters. Debtor also paid $335 filing fee.


                                                                              CERTIFICATION

                            I certify that the foregoing is a complete statement of any agreement or arrangement for
                          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                          01/10/2020                                       /s/ Nick Fowler
                          Date                                                 Signature of Attorney
                                                                                                                                  Nick Fowler
                                                                                                                           Bar Number: 81856
                                                                                                                   Florida Consumer Lawyers
                                                                                                                           8751 N Himes Ave
                                                                                                                             Tampa, FL 33614
                                                                                                                        Phone: (813) 282-9330

                                                                           Florida Consumer Lawyers
                                                                               Name of law firm
                                 Case 8:19-bk-11819-MGW                         Doc 13            Filed 01/10/20      Page 52 of 68

 Fill in this information to identify your case:

  Debtor 1                    Winford                                  Fowler
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                          Middle District of Florida

  Case number                        8:19-bk-11819                                                                                     ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                            Dates Debtor 2 lived
                                                              there                                                                           there


                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
     4726 W Tambay Ave                                      From 2013                                                                       From
    Number      Street                                                                     Number     Street
                                                            To     01/01/2020                                                               To

     Tampa, FL 33611
    City                               State ZIP Code                                      City                       State ZIP Code



                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number     Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 1
                                  Case 8:19-bk-11819-MGW                      Doc 13          Filed 01/10/20             Page 53 of 68

Debtor 1            Winford                                       Fowler                                              Case number (if known) 8:19-bk-11819
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $58,307.00            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $69,806.00            bonuses, tips
    (January 1 to December 31, 2018         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                        $117,675.00            bonuses, tips
    (January 1 to December 31, 2017         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Business Income                           $19,769.00
    date you filed for bankruptcy:




    For last calendar year:                         Business Income                           $27,746.00
    (January 1 to December 31, 2018         )
                                     YYYY




    For the calendar year before that:              Business Income                           (66,688.00)
    (January 1 to December 31, 2017         )
                                     YYYY




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
                                 Case 8:19-bk-11819-MGW                         Doc 13          Filed 01/10/20               Page 54 of 68

Debtor 1            Winford                                        Fowler                                                 Case number (if known) 8:19-bk-11819
                    First Name              Middle Name             Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑          Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ✔Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
               ❑
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑Yes.      Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                             Dates of              Total amount paid            Amount you still owe        Was this payment for…
                                                             payment

                                                                                                                                          ✔ Mortgage
                                                                                                                                          ❑
              Chase Mortgage                                 10/07/2019                         $4,350.00                  $184,663.00
             Creditor's Name                                                                                                              ❑Car
                                                             11/07/2019                                                                   ❑Credit card
             Number      Street                                                                                                           ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
             City                   State      ZIP Code                                                                                   ❑Other

                                                                                                                                          ✔ Mortgage
                                                                                                                                          ❑
              Harvey Schonbrun, as Trustee                   Monthly                              $859.00                    $73,956.00
             Creditor's Name                                                                                                              ❑Car
                                                                                                                                          ❑Credit card
             Number      Street                                                                                                           ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
             City                   State      ZIP Code                                                                                   ❑Other

                                                                                                                                          ❑Mortgage
              Suntrust
             Creditor's Name
                                                             Monthly                              $410.00                     $4,036.00
                                                                                                                                          ✔ Car
                                                                                                                                          ❑
                                                                                                                                          ❑Credit card
             Number      Street                                                                                                           ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
             City                   State      ZIP Code                                                                                   ❑Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 3
                                 Case 8:19-bk-11819-MGW                          Doc 13         Filed 01/10/20              Page 55 of 68

Debtor 1             Winford                                       Fowler                                               Case number (if known) 8:19-bk-11819
                    First Name            Middle Name                Last Name

                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment



    Insider's Name


    Number       Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                  Status of the case


                                                                                                                                                 ✔Pending
                                                    Collections
    Case title       American Express v.
                     Fowler and Grow-Max
                                                                                                Hillsborough County Court                        ❑
                                                                                                                                                 ❑On appeal
                                                                                               Court Name

    Case number 19-CA-1033
                                                                                               Number       Street
                                                                                                                                                 ❑Concluded

                                                                                               City                       State      ZIP Code



                                                                                                                                                 ✔Pending
                                                    Collections
    Case title       FC Marketplace v. Fowler
                     and Grow-Max
                                                                                                Hillsborough County Court                        ❑
                                                                                                                                                 ❑On appeal
                                                                                               Court Name

    Case number 19-CA-871
                                                                                               Number       Street
                                                                                                                                                 ❑Concluded

                                                                                               City                       State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 4
                                 Case 8:19-bk-11819-MGW                         Doc 13        Filed 01/10/20           Page 56 of 68

Debtor 1            Winford                                         Fowler                                          Case number (if known) 8:19-bk-11819
                    First Name             Middle Name              Last Name

                                                      Nature of the case                       Court or agency                               Status of the case

                                                      Collections
    Case title        Can Capital v. Fowler and
                      Grow Max
                                                                                              Hillsborough County Court                     ❑Pending
                                                                                                                                            ❑On appeal
                                                                                              Court Name

    Case number 18-CA-8619
                                                                                              Number       Street
                                                                                                                                            ✔Concluded
                                                                                                                                            ❑

                                                                                              City                   State      ZIP Code


                                                      Collection
    Case title        Green Capital Funding
                      LLC v. Grow-Max, Inc. and
                                                                                              New York                                      ❑Pending
                                                                                                                                            ❑On appeal
                                                                                              Court Name
                      Winford Fowler
    Case number
                                                                                              Number       Street
                                                                                                                                            ✔Concluded
                                                                                                                                            ❑

                                                                                              City                   State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                     Describe the property                                   Date             Value of the property



    Creditor’s Name


    Number       Street                                              Explain what happened

                                                                    ❑Property was repossessed.
                                                                    ❑Property was foreclosed.
                                                                    ❑Property was garnished.
    City                          State    ZIP Code                 ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                         Date action was   Amount
                                                                                                                          taken
    Creditor’s Name


    Number       Street



    City                         State     ZIP Code
                                                           Last 4 digits of account number: XXXX–




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 5
                                  Case 8:19-bk-11819-MGW                         Doc 13       Filed 01/10/20            Page 57 of 68

Debtor 1             Winford                                        Fowler                                          Case number (if known) 8:19-bk-11819
                     First Name             Middle Name             Last Name



  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per         Describe the gifts                                          Dates you gave    Value
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that     Describe what you contributed                                    Date you              Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number      Street



    City                    State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Winford                                      Fowler                                          Case number (if known) 8:19-bk-11819
                    First Name          Middle Name              Last Name
 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and       Describe any insurance coverage for the loss                     Date of your loss       Value of property lost
     how the loss occurred                    Include the amount that insurance has paid. List pending
                                              insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred              Date payment or         Amount of payment
     Florida Consumer Lawyers                                                                                  transfer was made
    Person Who Was Paid                        Attorney’s Fee; Filing Fee
                                                                                                               12/13/2019                           $2,500.00
     8751 N Himes Ave
    Number     Street
                                                                                                               12/13/2019                            $335.00



     Tampa, FL 33614
    City                   State   ZIP Code
     Bankruptcy_Court_Service@floridacl.com
    Email or website address


    Person Who Made the Payment, if Not You


                                                Description and value of any property transferred              Date payment or         Amount of payment
     Access Counseling, Inc.                                                                                   transfer was made
    Person Who Was Paid                        Credit Counseling
                                                                                                               12/09/2019                              $25.00
    Number     Street




    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1            Winford                                     Fowler                                            Case number (if known) 8:19-bk-11819
                    First Name          Middle Name             Last Name



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 8
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Debtor 1            Winford                                    Fowler                                            Case number (if known) 8:19-bk-11819
                    First Name           Middle Name            Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Last 4 digits of account number           Type of account or       Date account was           Last balance
                                                                                          instrument               closed, sold, moved, or    before closing or
                                                                                                                   transferred                transfer

    Name of Financial Institution
                                                XXXX–                                     ❑Checking
                                                                                          ❑Savings
    Number      Street
                                                                                          ❑Money market
                                                                                          ❑Brokerage
                                                                                          ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else had access to it?                      Describe the contents                         Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Financial Institution               Name
                                                                                                                                             ❑Yes

    Number      Street                          Number     Street



                                                City                  State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else has or had access to it?               Describe the contents                         Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Storage Facility                    Name
                                                                                                                                             ❑Yes

    Number      Street                          Number     Street



                                                City                  State    ZIP Code

    City                   State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 9
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Debtor 1            Winford                                        Fowler                                                 Case number (if known) 8:19-bk-11819
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                               Describe the property                           Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State    ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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                                  Case 8:19-bk-11819-MGW                             Doc 13        Filed 01/10/20              Page 62 of 68

Debtor 1             Winford                                          Fowler                                               Case number (if known) 8:19-bk-11819
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                        Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                       Status of the case


    Case title
                                                    Court Name
                                                                                                                                                      ❑Pending
                                                                                                                                                      ❑On appeal
                                                                                                                                                      ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ✔ An owner of at least 5% of the voting or equity securities of a corporation
           ❑
    ❑No. None of the above applies. Go to Part 12.
    ✔Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                      Describe the nature of the business                          Employer Identification number
     Grow-Max, Inc.                                                                                                Do not include Social Security number or ITIN.
    Name
                                                     Lawn & Landscape Management Services
                                                                                                                    EIN:   2   0 – 1    3     1   4   8    4   0
     4726 W. Tambay Ave
    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed
                                                     Francis Laurence Shrewsbury, CPA
     Tampa, FL 33611                                                                                                From 02/01/2008      To
    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 11
                                 Case 8:19-bk-11819-MGW                      Doc 13       Filed 01/10/20              Page 63 of 68

Debtor 1            Winford                                      Fowler                                          Case number (if known) 8:19-bk-11819
                    First Name          Middle Name              Last Name

                                                 Describe the nature of the business                     Employer Identification number
     Grow-Green Services Inc.                                                                            Do not include Social Security number or ITIN.
    Name
                                                Lawn & Landscape Management Services
                                                                                                          EIN:    9   0 – 1     5     0   5   8   8   5

    Number     Street
                                                 Name of accountant or bookkeeper                        Dates business existed
                                                Francis Laurence Shrewsbury, CPA
                                                                                                          From 03/09/2019        To
     Tampa, FL 33611
    City                   State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
                            Case 8:19-bk-11819-MGW                       Doc 13        Filed 01/10/20             Page 64 of 68

Debtor 1           Winford                                     Fowler                                          Case number (if known) 8:19-bk-11819
                   First Name           Middle Name             Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘                      /s/ Winford Fowler                        ✘
       Signature of Winford Fowler, Debtor 1                            Signature of


       Date 01/10/2020                                                  Date




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
                                   Case 8:19-bk-11819-MGW                           Doc 13          Filed 01/10/20        Page 65 of 68
 Fill in this information to identify your case:

  Debtor 1                      Winford                                    Fowler
                                First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)           First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                             Middle District of Florida

  Case number                           8:19-bk-11819
  (if known)                                                                                                                ❑ Check if this is an amended filing

Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                                      12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies to only
one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal, family, or
         household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form 101).
           ✔ No.
           ❑        Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                    supplement with the signed Form 122A-1.
           ❑Yes.        Go to Part 2.



 Part 2: Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑No. Go to line 3.
           ❑Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑No. Go to line 3.
                        ❑Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                                  submit this supplement with the signed Form 122A-1.


      3. Are you or have you been a Reservist or member of the National Guard?
           ❑No. Complete Form 122A-1. Do not submit this supplement.
           ❑Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
            ❑No. Complete Form 122A-1. Do not submit this supplement.
            ❑Yes. Check any one of the following categories that applies:
               ❑I was called to active duty after September 11, 2001, for at least 90 days and              If you checked one of the categories to the left, go to Form
                                                                                                            122A-1. On the top of page 1 of Form 122A-1, check box 3,
                        remain on active duty.
                                                                                                                The Means Test does not apply now, and sign Part 3. Then
                  ❑I was called to active duty after September 11, 2001, for at least 90 days and               submit this supplement with the signed Form 122A-1. You are
                                                                                                                not required to fill out the rest of Official Form 122A-1 during
                        was released from active duty on                       , which is fewer than 540        the exclusion period. The exclusion period means the time you
                        days before I file this bankruptcy case.                                                are on active duty or are performing a homeland defense
                  ❑I am performing a homeland defense activity for at least 90 days.                            activity, and for 540 days afterward. 11 U.S.C. § 707(b)
                                                                                                                (2)(D)(ii).
                  ❑I performed a homeland defense activity for at least 90 days, ending on
                                                                                                                If your exclusion period ends before your case is closed, you
                                             , which is fewer than 540 days before I file this bankruptcy
                                                                                                                may have to file an amended form later
                        case.




 Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                    page 1
                                 Case 8:19-bk-11819-MGW                            Doc 13           Filed 01/10/20         Page 66 of 68
 Fill in this information to identify your case:                                                                     Check one box only as directed in this form and in Form
                                                                                                                     122A-1Supp:
  Debtor 1                    Winford
                             First Name            Middle Name
                                                                        Fowler
                                                                        Last Name
                                                                                                                     ✔1. There is no presumption of abuse.
                                                                                                                     ❑
  Debtor 2                                                                                                           ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)                                                                                                   abuse applies will be made under Chapter 7 Means
                             First Name            Middle Name          Last Name
                                                                                                                        Test Calculation (Official Form 122A-2).

                                                                                                                     ❑3. The Means Test does not apply now because of
  United States Bankruptcy Court for the:                         Middle District of Florida

  Case number                        8:19-bk-11819                                                                       qualified military service but it could apply later.
  (if known)
                                                                                                                     ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ❑ Married and your spouse is NOT filing with you. You and your spouse are:
         ❑Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
  6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
  the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A                 Column B
                                                                                                               Debtor 1                 Debtor 2 or
                                                                                                                                        non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B is
    filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from an unmarried partner,
    members of your household, your dependents, parents, and roommates. Include regular
    contributions from a spouse only if Column B is not filled in. Do not include payments you listed on
    line 3.
 5. Net income from operating a business, profession,
                                                                        Debtor 1         Debtor 2
    or farm
      Gross receipts (before all deductions)
      Ordinary and necessary operating expenses                     -                -
                                                                                                      Copy
      Net monthly income from a business, profession, or farm                                         here
                                                                                                      →

 6. Net income from rental and other real property                      Debtor 1         Debtor 2
      Gross receipts (before all deductions)
      Ordinary and necessary operating expenses                     -                -
                                                                                                      Copy
      Net monthly income from rental or other real property                                           here
                                                                                                      →

 7. Interest, dividends, and royalties

 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                        page 1
Debtor 1                     Winford
                                          Case 8:19-bk-11819-MGW
                                                              Fowler
                                                                     Doc 13                                               Filed 01/10/20                     Page 67 of 68
                                                                                                                                                          Case number (if known) 8:19-bk-11819
                            First Name                         Middle Name                               Last Name
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................        ↓
           For you....................................................................................

           For your spouse......................................................................

       9. Pension or retirement income. Do not include any amount received that was a benefit
          under the Social Security Act. Also, except as stated in the next sentence, do not include
          any compensation, pension, pay, annuity, or allowance paid by the United States
          Government in connection with a disability, combat-related injury or disability, or death of a
          member of the uniformed services. If you received any retired pay paid under chapter 61 of
          title 10, then include that pay only to the extent that it does not exceed the amount of retired
          pay to which you would otherwise be entitled if retired under any provision of title 10 other
          than chapter 61 of that title.
      10. Income from all other sources not listed above. Specify the source and amount. Do
          not include any benefits received under the Social Security Act; payments received as a
          victim of a war crime, a crime against humanity, or international or domestic terrorism;
          or compensation, pension, pay, annuity, or allowance paid by the United States
          Government in connection with a disability, combat-related injury or disability, or death of
          a member of the uniformed services. If necessary, list other sources on a separate page
          and put the total below.




     Total amounts from separate pages, if any.                                                                                         +                                   +

       11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                                     +                  =
           column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                    Total current
                                                                                                                                                                                                   monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →
             Multiply by 12 (the number of months in a year).                                                                                                                                      X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.
13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household....................................................................................................           13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

   14a. ❑Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
         Go to Part 3.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.




Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                           page 2
Debtor 1             Winford
                              Case 8:19-bk-11819-MGW
                                                  Fowler
                                                         Doc 13                               Filed 01/10/20              Page 68 of 68
                                                                                                                       Case number (if known) 8:19-bk-11819
                     First Name              Middle Name               Last Name

Part 3: Sign Below

     By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


     X /s/ Winford Fowler                                                                    X
           Signature of Debtor 1                                                                  Signature of Debtor 2

           Date    01/10/2020                                                                    Date
                  MM/DD/YYYY                                                                             MM/DD/YYYY

     If you checked line 14a, do NOT fill out or file Form 122A–2.
     If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                               Chapter 7 Statement of Your Current Monthly Income                                         page 3
